               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


WILLIAM SCOTT,                  )
                                )
               Plaintiff,       )
                                )
     v.                         )                 1:20CV83
                                )
WAKE FOREST UNIVERSITY, et al., )
                                )
               Defendants.      )


                                 ORDER

    This matter is before this court for review of the Order

and Recommendation filed on January 30, 2020, by the Magistrate

Judge in accordance with 28 U.S.C. § 636(b). (Doc. 5.) In the

Recommendation, the Magistrate Judge recommends that the

Complaint be dismissed for failure to state a claim and lack of

subject matter jurisdiction. The Recommendation was served on

the parties to this action on January 30, 2020. (Doc. 6.)

Plaintiff filed objections, (Doc. 7), within the time limit

prescribed by Section 636.

    This court is required to “make a de novo determination of

those portions of the [Magistrate Judge’s] report or specified

proposed findings or recommendations to which objection is

made.” 28 U.S.C. § 636(b)(1). This court “may accept, reject, or

modify, in whole or in part, the findings or recommendations




     Case 1:20-cv-00083-WO-JLW Document 8 Filed 05/06/20 Page 1 of 2
made by the [M]agistrate [J]udge. . . .       [O]r recommit the

matter to the [M]agistrate [J]udge with instructions.” Id.

     This court has appropriately reviewed the portions of the

Recommendation to which objections were made and has made a

de novo determination which is in accord with the Magistrate

Judge=s Recommendation.    This court therefore adopts the

Recommendation.

     IT IS THEREFORE ORDERED that the Magistrate Judge’s

Recommendation, (Doc. 5), is ADOPTED. IT IS FURTHER ORDERED that

this action is DISMISSED for failing to state a claim and lack of

subject matter jurisdiction. A Judgment dismissing this action will

be entered contemporaneously with this Order.

     This the 6th day of May, 2020.



                                 __________________________________
                                    United States District Judge




                                  -2-



     Case 1:20-cv-00083-WO-JLW Document 8 Filed 05/06/20 Page 2 of 2
